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                                                                1   Counsel Listed on Signature Block
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




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                                                                                                   UNITED STATES DISTRICT COURT
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                                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                                               10
                                                                                                         SAN FRANCISCO DIVISION
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                                                               12   IN RE: CATHODE RAY TUBE (CRT)                           Mater Case No.: 3:07-cv-05944-SC
                                               L OS A NGELES




                                                                    ANTITRUST LITIGATION                                    MDL No. 1917
                                                               13                                                           Individual Case Nos. 3:11-cv-05513-SC;
                                                                                                                            3:11-cv-06396-SC
                                                               14
                                                                                                                            JOINT STIPULATION AND
                                                               15   This document relates to:                               [PROPOSED] ORDER TO CONTINUE
                                                                                                                            HEARING DATE AND BRIEFING
                                                               16   Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,    SCHEDULE ON DEFENDANT
                                                                    No. 11-cv-05513-SC                                      BEIJING MATSUSHITA COLOR CRT
                                                               17                                                           CO., LTD.’S MOTION TO DISMISS
                                                                    Target Corp. v. Chunghwa, et al.,                       CERTAIN DIRECT ACTION
                                                               18   No. 11-cv-05514-SC                                      PURCHASER COMPLAINTS
                                                               19   Tech Data v. Hitachi, Ltd., et al.
                                                                    No. 13-cv-00157-SC                                     IT IS SO ORDERED AS MODIFIED
                                                               20

                                                               21           WHEREAS, on November 4, 2013, Defendant Beijing Matsushita Color CRT Co., Ltd.
                                                               22   (“BMCC”) filed a Notice of Motion and Motion to Dismiss Certain Direct Action Purchaser
                                                               23   Complaints (“Motion to Dismiss”) (Dkt. #2118) against certain Plaintiffs, including Best Buy
                                                               24   Co., Inc., Best Buy Purchasing, LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P.,
                                                               25   Bestbuy.com, LLC, and Magnolia Hi-Fi, LLC (collectively, “Best Buy”); Target Corp.
                                                               26   (“Target”); and Tech Data Corporation and Tech Data Product Management, Inc. (collectively,
                                                               27   “Tech Data”);
                                                               28

                                                                    JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE HEARING DATE AND BRIEFING
                                                                    SCHEDULE ON BMCC’S MOTION TO DISMISS (Case No. 07-5944-SC; MDL No. 1917)
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                                                                1          WHEREAS, pursuant to the parties’ prior stipulation and Court Order dated November
                                                                2   14, 2013 (Dkt. #2233), BMCC’s Motion to Dismiss is set for hearing on January 24, 2014 at
                                                                3   10:00 a.m. before this Court;
                                                                4          WHEREAS, the parties are currently considering the potential resolution of the Motion to
                                                                5   Dismiss or a narrowing of the issues for the Court to consider;
                                                                6          WHEREAS, in light of the parties’ ongoing discussions, BMCC, Best Buy, Target, and
                                                                7   Tech Data have conferred and agreed to continue the hearing date and briefing schedule on
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                8   BMCC’s Motion to Dismiss;
                                                                9          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between
                                                               10   counsel to the respective parties, that, subject to the Court’s approval, the hearing date on
                                                               11   BMCC’s Motion to Dismiss shall be continued to February 14, 2014 at 10:00 a.m.;
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                                                               12          IT IS FURTHER STIPULATED AND AGREED, by and between counsel to the
                                               L OS A NGELES




                                                               13   respective parties, that any oppositions to BMCC’s Motion to Dismiss shall be filed on or before
                                                               14   January 17, 2014, and any replies to BMCC’s Motion to Dismiss shall be filed on or before
                                                               15   January 31, 2014.
                                                               16   Dated: December 19, 2013               Respectfully,
                                                               17
                                                                                                           By:     /s/ Richard Snyder
                                                               18                                          FRESHFIELDS BRUCKHAUS DERINGER US LLP
                                                                                                           Richard Snyder (Admitted Pro Hac Vice)
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                                                               22                                          Attorneys for Beijing Matsushita Color CRT Co., LTD

                                                               23                                          By:    /s/ David Martinez
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                                                                                                           Los Angeles, CA 90067-3208
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                                                                                                           Facsimile: (310) 229-5800
                                                               27
                                                                                                           Attorneys for Plaintiffs Best Buy Co., Inc.; Best Buy
                                                               28                                          Purchasing LLC; Best Buy Enterprise Services, Inc.; Best

                                                                    JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE HEARING DATE AND BRIEFING                    -2-
                                                                    SCHEDULE ON BMCC’S MOTION TO DISMISS (Case No. 07-5944-SC; MDL No. 1917)
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                                                                1                                     Buy Stores, L.P.; Bestbuy.com, L.L.C.; and Magnolia Hi-
                                                                                                      Fi, LLC
                                                                2
                                                                                                      By:    /s/ Astor Heaven
                                                                3
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                                                                                                      Attorneys for Plaintiff Target Corp.
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                8
                                                                                                      By:    /s/ Scott N. Wagner
                                                                9                                     BILZIN SUMBERG BAENA PRICE & AXELROD
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                                               L OS A NGELES




                                                                                                      Facsimile: (305) 374-7593
                                                               13
                                                                                                      Attorneys for Plaintiffs Tech Data Corporation and Tech
                                                               14                                     Data Product Management, Inc.
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                                                                    JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE HEARING DATE AND BRIEFING          -3-
                                                                    SCHEDULE ON BMCC’S MOTION TO DISMISS (Case No. 07-5944-SC; MDL No. 1917)
                                                                     Case 3:07-cv-05944-JST Document 2301 Filed 01/02/14 Page 4 of 4



                                                                1                                        [PROPOSED ORDER]
                                                                2           Pursuant to stipulation of the parties, and good cause appearing, the hearing on Defendant

                                                                3   Beijing Matsushita Color CRT Co., Ltd.’s (“BMCC”) Motion to Dismiss Certain Direct Action
                                                                                                                                              21
                                                                4   Purchaser Complaints shall be continued from January 24, 2014 to February 14, 2014 at 10:00

                                                                5   a.m.

                                                                6           All oppositions to BMCC’s Motion to Dismiss shall be filed no later than January 17,

                                                                7   2014.
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                8           All replies to BMCC’s Motion to Dismiss shall be filed no later than January 31, 2014.

                                                                9           IT IS SO ORDERED.                                                S DISTRICT
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                                                                            01/02/2014
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                                                                                                                                   SAMUEL




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                                                               12                                                           United States DistrictoCourt Judge
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                                                                    JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE HEARING DATE AND BRIEFING                                    -4-
                                                                    SCHEDULE ON BMCC’S MOTION TO DISMISS (Case No. 07-5944-SC; MDL No. 1917)
